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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff(s),
                                                    Case No. 07-20119
vs.
                                                    HON. GEORGE CARAM STEEH


D-8 TONEY SANDERS

                Defendant(s).
_____________________________/


                 ORDER TERMINATING SUPERVISED RELEASE



      Upon agreement of the parties at the hearing held today,

      IT IS ORDERED that the defendant’s term of supervised release is hereby

terminated without improvement.



                                       s/George Caram Steeh
                                       GEORGE CARAM STEEH
                                       UNITED STATES DISTRICT JUDGE

Dated: October 12, 2011

                              CERTIFICATE OF SERVICE

              Copies of this Order were served on the attorneys of record on
                         October 12, 2011, by electronic mail.


                                       s/Marcia Beauchemin
                                       Case Manager/Deputy Clerk
